                                  Case 23-11121-BLS                     Doc 1       Filed 08/07/23           Page 1 of 56



Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Proterra Operating Company, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          Proterra Inc
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business



                                  1815 Rollins Road, Burlingame, CA 94010
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  San Mateo                                                         Location of principal assets, if different from principal
                                  County                                                            place of business
                                                                                                    1605 Poplar Dr. Ext, Greer, SC, 29651
                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.proterra.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                      Case 23-11121-BLS                 Doc 1         Filed 08/07/23              Page 2 of 56
Debtor    Proterra Operating Company, Inc.                                                             Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                       B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                            3361

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?
     A debtor who is a “small               Chapter 9
     business debtor” must check            Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                               operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second                                       The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8
                                    Yes.
     years?
     If more than 2 cases, attach a
     separate list.                         District                                      When                                  Case number
                                            District                                      When                                  Case number

10. Are any bankruptcy cases               No
    pending or being filed by a
                                           Yes.
    business partner or an
    affiliate of the debtor?




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                       Case 23-11121-BLS                      Doc 1      Filed 08/07/23            Page 3 of 56
Debtor    Proterra Operating Company, Inc.                                                              Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor       Proterra Inc                                                 Relationship               Affiliate
                                                   District     Delaware                    When      08/07/2023             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                              A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs                Yes.
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                      Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                      No


                                                  Yes.         Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                   Funds will be available for distribution to unsecured creditors.
                                                   After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                           50-99                                           5001-10,000                                 50,001-100,000
                                           100-199                                         10,001-25,000                               More than100,000
     (Consolidated Basis)                  200-999

15. Estimated Assets                       $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
     (Consolidated Basis)                  $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                            $50,001 - $100,000                             $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
     (Consolidated Basis)                  $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 23-11121-BLS                   Doc 1        Filed 08/07/23             Page 4 of 56
Debtor   Proterra Operating Company, Inc.                                                          Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      08/07/2023
                                                  MM / DD / YYYY


                             X    /s/ Gareth T. Joyce                                                     Gareth T. Joyce
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X    /s/ Andrew L. Magaziner                                                  Date 08/07/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Andrew L. Magaziner
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square, 1000 North King Street
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 576-3592                Email address       amagaziner@ycst.com

                                  No. 5426 (Delaware)
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
               Case 23-11121-BLS          Doc 1     Filed 08/07/23     Page 5 of 56




                                                          OF

                                 THE BOARDS OF
                                 PROTERRA INC
                                      AND
                        PROTERRA OPERATING COMPANY, INC.
                                  August 7, 2023

               WHEREAS, (i) Proterra Inc Proterra                   corporation, is managed by
a Board of Directors       Proterra Board and (ii) Proterra Operating Company, Inc. OpCo
a Delaware corporation, is managed by a Board of Directors,     OpCo Board, and together with
                        Boards ;

               WHEREAS, Proterra and OpCo, are referred to collectively herein as the
 Companies             Company

                WHEREAS, the Boards have reviewed and considered the financial and
operational condition of each Company and of the Companies as a whole, including the historical
performance of the Companies, cash flow forecasts of the Companies, recent strategic activities
undergone by the Companies, the assets of the Companies, the current and long-term liabilities of
the Companies, and relevant industry and current market conditions, and have considered various
alternatives in respect of such matters;

                WHEREAS, the Boards have had the opportunity to consult with management and
the legal and financial advisors of the Companies to fully consider each of the strategic alternatives
available to the Companies;

               WHEREAS, the Boards have received, reviewed, and considered the

and other advisors as to the relative risks and benefits of pursuing cases under the provisions of
the Bankruptcy Code;

               WHEREAS, the Boards have reviewed and considered the Compan
need to employ individuals and/or firms as counsel, professionals, consultants or financial advisors
to represent and assist each Company in carrying out its duties in connection with the chapter 11
cases under the provisions of chapter 11 of title 11 of the United States Code (the Bankruptcy
Code ;

                WHEREAS, the Boards believe that taking the actions set forth below is in the best
interests of each Company and, therefore, desire to approve the following resolutions;

               WHEREAS, consistent with section 2.8 of the Restated Bylaws of Proterra
(the Proterra Bylaws
the actions contemplated by the resolutions set forth below;
               Case 23-11121-BLS           Doc 1       Filed 08/07/23   Page 6 of 56




               WHEREAS, consistent with section 12 of the Amended and Restated Bylaws of
                                          OpCo Bylaws                                  Board have
affirmatively consented to taking the actions contemplated by the resolutions set forth below;

                WHEREAS, the Boards have reviewed and considered the need for Gareth Joyce,
in his capacity as Chief Executive Officer of the Companies, and each of the other officers of the
Companies                Authorized Person to take further actions to carry out the intent and
purpose of the following resolutions, perform the obligations of each Company under the
Bankruptcy Code and pay fees and expenses in connection with the transactions contemplated by
the below resolutions; and

               WHEREAS, the Boards have reviewed and considered certain actions that may
have previously been taken by any director, officer, employee, manager, member, stockholder, or
agent of any Company in connection with or related to the matter set forth in the below resolutions.

I.     Commencement of Chapter 11 Cases

                NOW, THEREFORE, BE IT RESOLVED, that the Boards have determined, on
behalf of each Company, after due consultation with management and the legal and financial
advisors of the Companies, that it is desirable and in the best interests of such Company, its
creditors, and other parties in interest that a petition (each a Petition and together, Petitions )
be filed by such Company seeking relief under the provisions of the Bankruptcy Code; and be it
further

                 RESOLVED, that Gareth Joyce, in his capacity as Chief Executive Officer of the
 Companies, and any other Authorized Person be, and hereby are, authorized and directed to
 execute and file (or cause to be filed) in the name and on behalf of each Company, and under its
 corporate seal or otherwise, all plans, petitions, schedules, statements, motions, lists, applications,
 pleadings, orders, and other documents in the United States Bankruptcy Court for the District of
 Delaware          Bankruptcy Court
 assistance by legal counsel, accountants, financial advisors, investment bankers, and other
 professionals, and to take and perform any and all further acts and deeds which such Authorized
 Person, who may act without the joinder of any other Authorized Person or any one of them,
 deems necessary, proper, or advisable                                        s chapter 11 case (each
 case, a Chapter 11 Case,                                Chapter 11 Cases ), including negotiating,
 executing, delivering, and performing any and all documents, agreements, certificates, and
 instruments in connection with the transactions and professional retentions set forth in this
 resolution, with a view to the successful prosecution of such Chapter 11 Case; and be it further

II.    Retention of Professionals

                 RESOLVED, that the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP
be, and hereby is, retained as chapter 11 co-counsel to represent and assist the Companies in
carrying out their duties under the Bankruptcy Code or in the Chapter 11 Cases and to take any
and all actions to advance the Compan                                                        es and all
related matters, and any such prior actions are hereby ratified in their entirety; and be it further



                                                   2
               Case 23-11121-BLS          Doc 1       Filed 08/07/23   Page 7 of 56




                 RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP be,
and hereby is, retained as chapter 11 co-counsel to represent and assist the Companies in carrying
out their duties under the Bankruptcy Code or in the Chapter 11 Cases and to take any and all
actions to advance the Compan
matters, and any such prior actions are hereby ratified in their entirety; and be it further

                RESOLVED, that FTI Consulting, Inc FTI be, and hereby is, retained as
financial advisor in connection with the Chapter 11 Cases and all related matters, and any such
prior actions are hereby ratified in their entirety, including entry into an agreement among the
Companies and FTI, to provide financial advisory services to the Companies; and be it further

                 RESOLVED                                               Moelis
retained as an investment banker in connection with the Chapter 11 Cases and all related matters,
and any such prior actions are hereby ratified in their entirety, including entry into an agreement
among the Companies and Moelis, to provide investment banking services to the Companies; and
be it further

                  RESOLVED, that                                            KCC be, and hereby
is, retained as claims, noticing, and administrative agent in connection with the Chapter 11 Cases
and all related matters, and any prior actions taken in connection therewith are hereby ratified in
their entirety, including entry into an agreement among the Companies and KCC; and be it further

                RESOLVED, that the Companies, be, and hereby are, authorized to employ any
other professionals as the Boards or the Authorized Persons hereafter determine may be necessary,
proper, or advisable to assist the Companies, or any one of them, in carrying out their duties under
the Bankruptcy Code or in the Chapter 11 Cases, and all related matters and to take any and all
actions to advance the Compan                                                      ; and be it further

                RESOLVED, that the Authorized Persons be, and each of them hereby is,
authorized and directed in the name and on behalf of the Companies, or any one of them, to execute
appropriate retention agreements, pay appropriate retainers, and cause to be filed appropriate
applications for authority to retain the services of the foregoing professionals, as necessary; and
be it further

III.   Cash Collateral and Adequate Protection

                 RESOLVED, that the Board has determined that each Company will obtain
benefits from the use of collateral, including cash collateral, as that term is defined in section
363(a) of the Bankruptcy Code (the Cash Collateral            that is security for the
obligations under its secured funded debt facilities, including the secured convertible notes issued
pursuant to that certain Note Purchase Agreement, dated as of August 4, 2020, as amended,
restated, supplemented, or otherwise modified from time to time in accordance with the terms
thereof; and be it further

               RESOLVED, that, in order to use and obtain the benefits of the Cash Collateral,
and in accordance with section 363 of the Bankruptcy Code, each Company will provide certain
                                                      Adequate Protection Obligations
documented in proposed orders to be filed with the Bankruptcy Court substantially in the form

                                                  3
               Case 23-11121-BLS          Doc 1       Filed 08/07/23   Page 8 of 56




presented to the Boards on or in advance of the date hereof       Cash Collateral Orders , with
such changes, additions, and modifications thereto as an Authorized Person shall approve; and be
it further

               RESOLVED, that each Company, as debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to negotiate and incur the Adequate Protection
Obligations and to undertake any and all related transactions on substantially the same terms as
contemplated under the Cash Collateral Orders; and be it further

                RESOLVED, that any Authorized Person is hereby authorized and directed, in
the name and on behalf of each applicable Company, to cause such Company to negotiate and
approve the terms, provisions of and performance of, and to prepare, execute, and deliver the Cash
Collateral Orders to which such Company is a party; and be it further

                RESOLVED, that any Authorized Person is hereby authorized and directed, in
the name and on behalf of each applicable Company, to take all such further actions, including to
pay all fees and expenses, in accordance with the terms of the Cash Collateral Orders and any
documents in relation thereto (the Cash Collateral Documents , which shall, in such Authorized
              reasonable judgment, be necessary, proper, or advisable
obligations under or in connection with the Cash Collateral Documents and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions; and be it further

               RESOLVED, that any Authorized Person is hereby authorized and directed, in
the name and on behalf of each applicable Company, to execute and deliver any amendments,
supplements, modifications, renewals, replacements, consolidations, substitutions, and extensions
of the Cash Collateral
necessary, proper, or advisable; and be it further

IV.    Bidding Procedures

                RESOLVED, that the Companies, as debtors and debtors in possession under the
Bankruptcy Code are, and hereby are, authorized to file a motion seeking the Bankruptcy Court's
approval of bidding procedures for one or more potential sale, recapitalization, or other
restructuring transactions; and be it further

V.     General Authorization and Ratification

                RESOLVED, that each Board, as applicable, has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the organizational documents of the Companies, or hereby waives any right to have
received such notice; and be it further

                 RESOLVED, that each Authorized Person be, and each, acting alone, hereby is,
authorized and directed, in the name and on behalf of each Company, to (i) do and perform all
such acts and things and enter into, execute, acknowledge, deliver, and file all such certificates,
agreements, acknowledgments, instruments, contracts, statements, and other documents and to
take such further actions as such Authorized Person may deem necessary, proper, or advisable to
effect the intent and accomplish the purposes of the foregoing resolutions, with the taking of any

                                                  4
                Case 23-11121-BLS          Doc 1       Filed 08/07/23   Page 9 of 56




such action by such Authorized Person being conclusive evidence that the same did meet such
standards as set forth above, (ii) perform the obligations of each Company under the Bankruptcy
Code, with all such actions to be performed in such manner, and all such certificates, instruments,
guaranties, notices, and documents to be executed and delivered in such form, as the Authorized
Person or his or her delegate performing or executing the same shall approve, and the performance
or execution thereof by such Authorized Person or his or her delegate shall be conclusive evidence
of the approval thereof by such Authorized Person or his or her delegate and by the applicable
Company, and (iii) pay fees and expenses in connection with the transactions contemplated by the
foregoing resolutions; and be it further

                 RESOLVED, that any and all actions taken by an Authorized Person prior to the
date of adoption of the foregoing resolutions, which would have been authorized by the foregoing
resolutions but for the fact that such actions were taken prior to such date, be, and each hereby is,
ratified, approved, confirmed, and adopted as a duly authorized act of any applicable Company in
all respects and for all purposes; and be it further

                 RESOLVED, that, in addition to the specific authorizations heretofore conferred
upon each Board (and their designees and delegates) and as applicable, and each Authorized
Person, be, and hereby is, authorized and directed, in the name of and on behalf of each Company,
to take or cause to be taken any and all such other and further action, and to execute, acknowledge,
deliver, and file any and all such agreements, certificates, instruments, and other documents and
to pay all expenses, including but not limited to filing fees, in each case as in such Authorized
Person                                  , advisable, or desirable in order to fully carry out the intent
and accomplish the purposes of the resolutions adopted herein.

               [Remainder of page intentionally left blank; signature pages follow]




                                                   5
        Case 23-11121-BLS   Doc 1   Filed 08/07/23   Page 10 of 56




                                BOARD OF DIRECTORS OF PROTERRA
                                INC


_______________________                          Gareth T. Joyce



_______________________                          Mary Louise Krakauer



_______________________                          Jan Hauser



_______________________                          Roger M. Nielsen




_______________________                          Brook F. Porter




_______________________                          Jeannine P. Sargent




_______________________                          Constance E. Skidmore




_______________________                          Michael D. Smith
       Case 23-11121-BLS   Doc 1    Filed 08/07/23   Page 11 of 56




                                   BOARD OF DIRECTORS OF PROTERRA
                                   OPERATING COMPANY, INC.


_______________________                          Gareth T. Joyce



_______________________                          Mary Louise Krakauer



_______________________                          Jan Hauser



_______________________                          Roger M. Nielsen




_______________________                          Brook F. Porter




_______________________                          Jeannine P. Sargent




_______________________                          Constance E. Skidmore




_______________________                          Michael D. Smith
                                Case 23-11121-BLS                Doc 1      Filed 08/07/23             Page 12 of 56


  Fill in this information to identify the case:

  Debtor name Proterra Operating Company, Inc.

  United States Bankruptcy Court for the: District of Delaware

  Case number (If known):
                                                                          (State)
                                                                                                                                     ❑ Check if this is an
                                                                                                                                         amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                  12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.
 Name of creditor and complete Name, telephone number, and                     Nature of the  Indicate if    Amount of unsecured claim
 mailing address, including zip       email address of creditor                claim (for     claim is       If the claim is fully unsecured, fill in only
 code                                 contact                                  example,       contingent,    unsecured claim amount. If claim is partially
                                                                                    trade debts,    unliquidated,   secured, fill in total claim amount and
                                                                                    bank loans,     or disputed     deduction for value of collateral or setoff to
                                                                                    professional                    calculate unsecured claim.
                                                                                    services, and
                                                                                    government                      Total         Deduction        Unsecured
                                                                                    contracts)                      claim, if     for value of     claim
                                                                                                                    partially     collateral or
                                                                                                                    secured       setoff

       LG ENERGY SOLUTION,
       LTD.
       DAVID LEE
                                          DAVID LEE
       TOWER 1, 108, YEOUI-
  1                                       PHONE: 82-10-5536-6419                       TRADE             D                                         $27,522,321.00
       DAERO
                                          EMAIL: LEEKYUNGIL@LGENSOL.COM
       YEONGDEUNGPO-GU
       SEOUL, 07336
       REPUBLIC OF KOREA



       NIKOLA CORPORATION
       BRUNA CHIOSINI & NIKOLA
                                          BRUNA CHIOSINI & NIKOLA LEGAL              DEFERRED
  2    LEGAL                                                                                              D                                        $18,604,915.00
                                          EMAIL: LEGAL@NIKOLAMOTOR.COM               REVENUE
       4141 E. BROADWAY RD.
       PHOENIX, AZ 85040




       VOLTA TRUCKS
                                          JOHN BURROWS
       JOHN BURROWS
                                          PHONE: 33 670990445                        DEFERRED
  3    OLOF PALMESGATA 29 FL 4                                                                           D                                         $10,500,000.00
                                          EMAIL:                                     REVENUE
       STOCKHOLM, 111 22
                                          JOHN.BURROWS@VOLTATRUCKS.COM
       SWEDEN



       MIAMI-DADE COUNTY
       ANA M. RIOSECO, CPPB               ANA M. RIOSECO, CPPB
                                                                                     DEFERRED
  4    701 NW 1ST COURT                   PHONE: 786-469-5279                                            D                                          $9,952,122.00
                                                                                     REVENUE
       15TH FLOOR                         EMAIL: ARIOSEC@MIAMIDADE.GOV
       MIAMI, FL 33136


       NIKOLA IVECO EUROPE
       GMBH
                                          FRANCESCO DONATO, CPO
       FRANCESCO DONATO, CPO
                                          EMAIL:                                     DEFERRED
  5    NICOLAUS-OTTO-STRASSE                                                                             D                                          $8,221,007.00
                                          FRANCESCO.DONATO@IVECOGROUP.CO             REVENUE
       27
                                          M
       ULM, 89079
       GERMANY




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                 page 1
                                  Case 23-11121-BLS             Doc 1       Filed 08/07/23         Page 13 of 56

 Debtor    Proterra Operating Company, Inc.                                                      Case number (if known)
          Name



   Name of creditor and complete          Name, telephone number, and           Nature of the   Indicate if       Amount of unsecured claim
   mailing address, including zip         email address of creditor             claim (for      claim is          If the claim is fully unsecured, fill in only
   code                                   contact                               example,        contingent,       unsecured claim amount. If claim is partially
                                                                                trade debts,    unliquidated,     secured, fill in total claim amount and
                                                                                bank loans,     or disputed       deduction for value of collateral or setoff to
                                                                                professional                      calculate unsecured claim.
                                                                                services, and
                                                                                government                        Total        Deduction         Unsecured
                                                                                contracts)                        claim, if    for value of      claim
                                                                                                                  partially    collateral or
                                                                                                                  secured      setoff
          CITY OF EDMONTON
          FRED AMENAGHAWON
                                          FRED AMENAGHAWON
          WESTWOOD INTEGRATED
                                          PHONE: 780-442-5431                    DEFERRED
    6     SITE                                                                                        D                                          $8,024,128.00
                                          EMAIL:                                 REVENUE
          12404 107 STREET NW
                                          FRED.AMENAGHAWON@EDMONTON.CA
          EDMONTON, AB T5G 2S7
          CANADA
          TPI COMPOSITES, INC
          JERRY LAVINE                    JERRY LAVINE
          8501 N SCOTTSDALE ROAD,         PHONE: 480-305-8910
    7                                                                              TRADE              D                                          $6,352,565.00
          SUITE 100                       FAX: 480-305-8315
          SCOTTSDALE, AZ 85253-           EMAIL: J.LAVINE@TPICOMPOSITES.COM
          2748


          POWER ELECTRONICS USA           JACOB MARSHALL
          JACOB MARSHALL                  PHONE: 480-369-3492
    8                                                                              TRADE              D                                          $3,037,200.32
          1510 N. HOBSON AVE              EMAIL: JMARSHALL@POWER-
          GILBERT, AZ 85233               ELECTRONICS.COM



                                          JASON ROSE
          VALLEY REGIONAL TRANSIT
                                          PHONE: 208-258-2739
          JASON ROSE                                                             DEFERRED
    9                                     FAX: 208-846-8564                                           D                                          $2,158,988.00
          700 NE 2ND ST., STE. 100                                               REVENUE
                                          EMAIL:
          MERIDIAN, ID 83642
                                          JROSE@VALLEYREGIONALTRANSIT.ORG



          SENSATA TECHNOLOGIES,
          INC.
                                          FRIDA AGUILAR ROMO
   10     FRIDA AGUILAR ROMO                                                       TRADE              D                                          $2,106,530.94
                                          EMAIL: FAGUILARROMO@SENSATA.COM
          529 PLEASANT ST
          ATTLEBORO, MA 02703




          LOS ANGELES
          DEPARTMENT OF
                                          GENERAL MANAGER
          TRANSPORTATION
                                          PHONE: 213-972-8470                    DEFERRED
   11     GENERAL MANAGER                                                                             D                                          $1,999,999.00
                                          FAX: 213-972-8410                      REVENUE
          100 S. MAIN ST., 10TH
                                          EMAIL: CONNIE.LLANOS@LACITY.ORG
          FLOOR
          LOS ANGELES, CA 90012



          CHICAGO TRANSIT
          AUTHORITY                       SANJA NOBLE
                                                                                 DEFERRED
   12     SANJA NOBLE                     PHONE: 312-664-7200                                         D                                          $1,585,358.00
                                                                                 REVENUE
          567 W. LAKE STREET              EMAIL: SNOBLE@TRANSITCHICAGO.COM
          CHICAGO, IL 60661

          CAPITAL METROPOLITAN
          TRANSPORTATION                  KERRI BUTCHER
          AUTHORITY                       PHONE: 512-389-7460                    DEFERRED
   13                                                                                                 D                                          $1,569,458.00
          KERRI BUTCHER                   EMAIL:                                 REVENUE
          2910 E. 5TH ST.                 KERRI.BUTCHER@CAPMETRO.ORG
          AUSTIN, TX 78702
          PORT AUTHORITY OF NEW
          YORK AND NEW JERSEY
          PORT AUTHORITY LAW              PORT AUTHORITY LAW DEPARTMENT
                                                                                 DEFERRED
   14     DEPARTMENT                      PHONE: 212-435-7000                                         D                                          $1,495,304.00
                                                                                 REVENUE
          150 GREENWICH ST, 24TH          EMAIL: JBARRAGAN@PANYNJ.GOV
          FL
          NEW YORK CITY, NY 10007




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                              page 2
                                  Case 23-11121-BLS              Doc 1        Filed 08/07/23        Page 14 of 56

 Debtor    Proterra Operating Company, Inc.                                                       Case number (if known)
          Name



   Name of creditor and complete          Name, telephone number, and            Nature of the   Indicate if       Amount of unsecured claim
   mailing address, including zip         email address of creditor              claim (for      claim is          If the claim is fully unsecured, fill in only
   code                                   contact                                example,        contingent,       unsecured claim amount. If claim is partially
                                                                                 trade debts,    unliquidated,     secured, fill in total claim amount and
                                                                                 bank loans,     or disputed       deduction for value of collateral or setoff to
                                                                                 professional                      calculate unsecured claim.
                                                                                 services, and
                                                                                 government                        Total        Deduction         Unsecured
                                                                                 contracts)                        claim, if    for value of      claim
                                                                                                                   partially    collateral or
                                                                                                                   secured      setoff

          BLOOMINGTON-NORMAL
          PUBLIC TRANSIT SYSTEM           BRADY LANGE
                                                                                  DEFERRED
   15     BRADY LANGE                     PHONE: 309-828-9833                                          D                                          $1,261,772.00
                                                                                  REVENUE
          351 WYLIE DRIVE                 EMAIL: BLANGE@CONNECT-TRANSIT.COM
          NORMAL, IL 61961


          CITY OF FRESNO
                                          PURCHASING DEPARTMENT
          PURCHASING DEPARTMENT
                                          PHONE: 559-621-1332                     DEFERRED
   16     2600 FRESNO STREET,                                                                          D                                          $1,202,271.00
                                          FAX: 559-488-1069                       REVENUE
          ROOM 2156
                                          EMAIL: GARY.WATAHIRA@FRESNO.GOV
          FRESNO, CA 93721



          NAVISTAR, INC.                  ELLEN MAHAFFEY
          ELLEN MAHAFFEY                  PHONE: 331-332-3224                     DEFERRED
   17                                                                                                  D                                          $1,073,985.00
          2701 NAVISTAR DRIVE             EMAIL:                                  REVENUE
          LISLE, IL 60532                 ELLEN.MAHAFFEY@NAVISTAR.COM


          BOW VALLEY REGIONAL
          TRANSIT SERVICES
                                          MARTIN BEAN, CHIEF ADMINISTRATIVE
          COMMISSION
                                          OFFICER
          MARTIN BEAN, CHIEF                                                      DEFERRED
   18                                     PHONE: 403-762-0606                                          D                                          $1,072,025.00
          ADMINISTRATIVE OFFICER                                                  REVENUE
                                          EMAIL:
          221 BEAVER STREET
                                          MARTIN.BEAN@ROAMTRANSIT.COM
          BANFF, AB T1L 1A5
          CANADA

          HIGHLAND ELECTRIC
          TRANSPORTATION, INC.
                                          SEAN LEACH
          SEAN LEACH                                                              DEFERRED
   19                                     PHONE: 508-397-2776                                          D                                          $1,043,903.00
          200 CUMMINGS CENTER,                                                    REVENUE
                                          EMAIL: SEAN@HIGHLANDFLEETS.COM
          SUITE 273D
          BEVERLY, MA 01915


          RON WHITES AIR
          COMPRESSORS, INC                BRITTANY MOORE
   20     BRITTANY MOORE                  PHONE: 800-535-5176                       TRADE              D                                          $1,024,402.01
          4019 S MURRAY AVE               EMAIL: BRITTANY@RWIINDUSTRIAL.COM
          ANDERSON, SC 29626



          SIGMA MACHINE, INC.
                                          KURT HINKLEY
          KURT HINKLEY
   21                                     PHONE: 269-345-6316                       TRADE              D                                           $821,251.22
          3358 CENTER PARK PLAZA
                                          EMAIL: KURTH@SIGMAMACHINE.NET
          KALAMAZOO, MI 49048




          BOSSARD INC.                    STEEN HANSEN
          STEEN HANSEN                    PHONE: 319-277-5520
   22                                                                               TRADE              D                                           $749,024.96
          6521 PRODUCTION DRIVE           FAX: 319-277-2964
          CEDAR FALLS, IA 50613           EMAIL: HANSEN@BOSSARD.COM



          DANFOSS POWER
          SOLUTIONS (US) COMPANY          CLIFF STOKES
   23     CLIFF STOKES                    PHONE: 303-562-4513                       TRADE              D                                           $748,848.93
          2800 E 13TH ST                  EMAIL: CLIFF.STOKES@DANFOSS.COM
          AMES, IA 50010-8600




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                               page 3
                                  Case 23-11121-BLS             Doc 1      Filed 08/07/23          Page 15 of 56

 Debtor    Proterra Operating Company, Inc.                                                      Case number (if known)
          Name



   Name of creditor and complete          Name, telephone number, and           Nature of the   Indicate if       Amount of unsecured claim
   mailing address, including zip         email address of creditor             claim (for      claim is          If the claim is fully unsecured, fill in only
   code                                   contact                               example,        contingent,       unsecured claim amount. If claim is partially
                                                                                trade debts,    unliquidated,     secured, fill in total claim amount and
                                                                                bank loans,     or disputed       deduction for value of collateral or setoff to
                                                                                professional                      calculate unsecured claim.
                                                                                services, and
                                                                                government                        Total        Deduction         Unsecured
                                                                                contracts)                        claim, if    for value of      claim
                                                                                                                  partially    collateral or
                                                                                                                  secured      setoff


          US CUSTOMS & BORDER
                                          OFFICE OF FINANCE
          PROTECTION
                                          PHONE: 317-614-4426
   24     OFFICE OF FINANCE                                                        TAXES              D                                           $712,719.03
                                          EMAIL:
          6650 TELECOM DRIVE
                                          BANKRUPTCYTEAM@CBP.DHS.GOV
          INDIANAPOLIS, IN 46278


          NINGBO YEXING
          AUTOMOTIVE PART CO.,
          LTD.
          COCO RONG                       COCO RONG
   25     NO. 259 HAIFENG ROAD            PHONE: 86-574-63293998                   TRADE              D                                           $661,463.24
          CIDONG BINHAI ECONOMIC          EMAIL: SALES@YEXINGAUTO.COM
          DEVELOPMENT AREA
          CIXI, 315338
          CHINA


          SOUTH BAY SOLUTIONS INC
          ROSA NEYMAN                     ROSA NEYMAN
   26     37399 CENTRALMONT               EMAIL:                                   TRADE              D                                           $637,135.14
          PLACE                           RNEYMAN@SOUTHBAYSOLUTIONS.COM
          FREMONT, CA 94536



          RHOMBUS ENERGY
          SOLUTIONS                       SCOTT STROMENGER
   27     SCOTT STROMENGER                PHONE: 888-978-6564                      TRADE              D                                           $531,328.03
          10915 TECHNOLOGY PL             EMAIL: SCOTT@RHOMBUSENERGY.COM
          SAN DIEGO, CA 92127


          AROW GLOBAL CORP
                                          AMY KING
          AMY KING
                                          PHONE: 715-693-6020
   28     924 NORTH PARK VIEW                                                      TRADE              D                                           $494,982.42
                                          FAX: 715-693-7108
          CIRCLE
                                          EMAIL: AKING@AROWGLOBAL.COM
          MOSINEE, WI 54455



          BIRLASOFT SOLUTIONS
          INC.
                                          SUMIT MEHRISH
   29     SUMIT MEHRISH                                                            TRADE              D                                           $479,239.67
                                          EMAIL: SUMIT.MEHRISH@BIRLASOFT.COM
          399 THORNALL ST FL 8
          EDISON, NJ 08837-2240


          MAHO LAZO
                                          WILSHIRE LAW FIRM
          WILSHIRE LAW FIRM
                                          PHONE: 213-335-2402
          BENJAMIN HABER
   30                                     FAX: 213-381-9989                      LITIGATION        C, U, D                                        Unliquidated
          3055 WILSHIRE BLVD, 12TH
                                          EMAIL:
          FL
                                          BENJAMIN@WILSHIRELAWFIRM.COM
          LOS ANGELES, CA 90010




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                              page 4
                    Case 23-11121-BLS            Doc 1      Filed 08/07/23       Page 16 of 56




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    PROTERRA INC, et al.,1                                          ) Case No. 23-        (___)
                                                                    )
                               Debtors.                             ) (Joint Administration Requested)
                                                                    )

                    CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                     AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                      TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

             Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the above-captioned debtors and debtors in possession (each, a “Debtor”) hereby state

as follows:

             1.      The mailing address of Debtor Proterra Inc and Debtor Proterra Operating
                     Company, Inc. is 1815 Rollins Road, Burlingame, California 94010.

             2.      A list of Debtor Proterra Inc’s equity interest holders, their addresses, and the nature
                     of their equity interests is attached hereto as Annex 1.

             3.      Debtor Proterra Operating Company, Inc. is 100% owned by Debtor Proterra Inc.




1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, are as follows: Proterra Inc (9565) and Proterra Operating Company, Inc. (8459).
Case 23-11121-BLS    Doc 1    Filed 08/07/23   Page 17 of 56




                         Annex 1

       List of Proterra Inc’s Equity Interest Holders




                             2
                              Case 23-11121-BLS                 Doc 1        Filed 08/07/23           Page 18 of 56

                                                United States Bankruptcy Court
                                                             District of Delaware
 In re: Proterra Inc                                                                                   Case No.
                                             Debtor(s)                                                 Chapter      11



                                       LIST OF EQUITY SECURITY HOLDERS
 Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) of the Federal Rules of
 Bankruptcy Procedure for filing in this Chapter 11 Case.


 Name and last known address or place of business of                          Security Class                Number of             Kind of
 holder                                                                                                      Securities           Interest
 AARON CAMERE                                                                Common Shares                         3,456          Common
 Address Available Upon Request

 AARON E BRUNER                                                              Common Shares                            37          Common
 Address Available Upon Request

 AARON J SOK                                                                 Common Shares                               7        Common
 Address Available Upon Request

 AARTI PATEL                                                                 Common Shares                           573          Common
 Address Available Upon Request

 AASHIV VIJ                                                                  Common Shares                         2,295          Common
 Address Available Upon Request

 ABHISHEK PAL                                                                Common Shares                            61          Common
 Address Available Upon Request

 ADAM J PULLINGS                                                             Common Shares                            31          Common
 Address Available Upon Request

 ADAN GOMEZ                                                                  Common Shares                            27          Common
 Address Available Upon Request

 ADITYA D SHINDE                                                             Common Shares                            21          Common
 Address Available Upon Request

 ADITYA MOHPAL & MAHI AGRAWAL AS JT TEN                                      Common Shares                         1,105          Common
 Address Available Upon Request

 ALAN PAUL WESTENSKOW                                                        Common Shares                         6,509          Common
 Address Available Upon Request

 ALAN UTH                                                                    Common Shares                               8        Common
 Address Available Upon Request

 ALEX ANDREWS                                                                Common Shares                           459          Common
 Address Available Upon Request

 ALEX CONTRERAS                                                              Common Shares                            31          Common
 Address Available Upon Request

 ALEXANDER BERRIOS                                                           Common Shares                            10          Common
 Address Available Upon Request

 ALEXANDER FLORES FIGUEROA                                                   Common Shares                         2,567          Common
 Address Available Upon Request

Sheet 1 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 19 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 ALEXANDER SELETSKY                                                 Common Shares                2,046   Common
 Address Available Upon Request

 ALFRED A HERNANDEZ                                                 Common Shares                   6    Common
 Address Available Upon Request

 ALFRED MARQUEZ                                                     Common Shares                   7    Common
 Address Available Upon Request

 ALLEN A HODGES TR UA 8/19/10 ALLEN A HODGES                        Common Shares                 461    Common
 REVOCABLE TRUST
 Address Available Upon Request
 ALOYSIUS J TANK                                                    Common Shares                 314    Common
 Address Available Upon Request

 AMA JP LTD                                                         Common Shares            140,630     Common
 C/O MOHAMMED ABDULAZIZ M AL
 ABDULGADER, THALIA STREET
 P O BOX 2468
 RIYADH 11451
 SAUDI ARABIA
 AMANDA B CLEMENTS                                                  Common Shares                  71    Common
 Address Available Upon Request

 AMANDA M WAGNER                                                    Common Shares                  30    Common
 Address Available Upon Request

 AMB INVESTMENTS LLC                                                Common Shares             12,984     Common
 1501 HIGHWOODS BLVD SUITE 302
 GREENSBORO NC 27410
 AMERICAN IRA CUST FBO HUGH N CHAPMAN ROTH                          Common Shares                2,709   Common
 IRA
 FBO HUGH N CHAPMAN ROTH IRA
 135 BROAD ST
 ASHEVILLE NC 28801
 AMERICAN IRA LLC FBO GEORGE M HARRISON IRA                         Common Shares                 947    Common
 FBO GEORGE M HARRISON IRA
 Address Available Upon Request
 AMICA CAPRA LLC                                                    Common Shares                1,792   Common
 C/O RICHARD BALL
 Address Available Upon Request
 AMY E CUNY                                                         Common Shares                 334    Common
 Address Available Upon Request

 AMY L GAGNON                                                       Common Shares                  32    Common
 Address Available Upon Request

 ANDRE AMEER                                                        Common Shares                1,298   Common
 Address Available Upon Request


Sheet 2 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 20 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 ANDRE GOMEZ                                                        Common Shares                  14    Common
 Address Available Upon Request

 ANDREI STSIAPANAU                                                  Common Shares                9,630   Common
 Address Available Upon Request

 ANDRES GALAVIZ                                                     Common Shares                 170    Common
 Address Available Upon Request

 ANDREW EMBLER CAMP                                                 Common Shares                  10    Common
 Address Available Upon Request

 ANDREW J METCALF                                                   Common Shares                   6    Common
 Address Available Upon Request

 ANDREW KYABASINGA                                                  Common Shares                  35    Common
 Address Available Upon Request

 ANGEL CARRASCO                                                     Common Shares                   5    Common
 Address Available Upon Request

 ANGELA ARANDA                                                      Common Shares                 120    Common
 Address Available Upon Request

 ANN P BRYAN TR UA 1/18/07 ANN P BRYAN                              Common Shares                 921    Common
 REVOCABLE TRUST
 Address Available Upon Request
 ANTHONY DIAZ                                                       Common Shares                  19    Common
 Address Available Upon Request

 ANTHONY L FOWLER                                                   Common Shares                  19    Common
 Address Available Upon Request

 ANTHONY REBOJA                                                     Common Shares                 974    Common
 Address Available Upon Request

 ARMANDO B JIMENEZ                                                  Common Shares                 103    Common
 Address Available Upon Request

 ARTURO ARABE                                                       Common Shares                  66    Common
 Address Available Upon Request

 ARTURO BAUTISTA                                                    Common Shares                  26    Common
 Address Available Upon Request

 ARVIND KUMAR LAKSHMANAN                                            Common Shares                  64    Common
 Address Available Upon Request

 AUSTIN S GREER                                                     Common Shares                  27    Common
 Address Available Upon Request

 AVERY E WHITE                                                      Common Shares                  33    Common
 Address Available Upon Request

Sheet 3 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 21 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 BARBARA A FULLER                                                   Common Shares                  37    Common
 Address Available Upon Request

 BARRETT FRANKLIN & RACHEL FRANKLIN JT TEN                          Common Shares             28,241     Common
 Address Available Upon Request

 BARRY M POWELL                                                     Common Shares                  20    Common
 Address Available Upon Request

 BEHROOZ MEHDIAN                                                    Common Shares                 145    Common
 Address Available Upon Request

 BELLA GRACE CAPITAL                                                Common Shares                 644    Common
 C/O PAUL SPARKS
 Address Available Upon Request
 BEN NOVAK                                                          Common Shares                  11    Common
 Address Available Upon Request

 BENJAMIN D NOVOTNY                                                 Common Shares                  12    Common
 Address Available Upon Request

 BHARAT DAVE                                                        Common Shares                 642    Common
 Address Available Upon Request

 BLANCHARD D PINTO                                                  Common Shares                 139    Common
 Address Available Upon Request

 BMW I VENTURES SCS SICAV-RAIF                                      Common Shares          1,508,479     Common
 5 HEIENHAFF
 SENNINGERBERG L-1736
 LUXEMBOURG
 BOB KHAMMAO                                                        Common Shares                  12    Common
 Address Available Upon Request

 BRAD BYLENGA                                                       Common Shares             12,009     Common
 Address Available Upon Request

 BRAD L WALTERS                                                     Common Shares                  22    Common
 Address Available Upon Request

 BRADLEY D ALLEN                                                    Common Shares                9,112   Common
 Address Available Upon Request

 BRADLEY K BEARDEN                                                  Common Shares                  19    Common
 Address Available Upon Request

 BRANDON N VELAZQUEZ                                                Common Shares                  27    Common
 Address Available Upon Request

 BRANDON R MORENO                                                   Common Shares                   7    Common
 Address Available Upon Request


Sheet 4 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 22 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 BRANDON S PFEIFFER                                                 Common Shares                  16    Common
 Address Available Upon Request

 BRANDON WOODS                                                      Common Shares                  20    Common
 Address Available Upon Request

 BRENT A NERESON                                                    Common Shares                   9    Common
 Address Available Upon Request

 BRETT ALAN JORGENSEN                                               Common Shares                 918    Common
 Address Available Upon Request

 BRIAN A BRACEY                                                     Common Shares                  39    Common
 Address Available Upon Request

 BRIAN COOK                                                         Common Shares                1,298   Common
 Address Available Upon Request

 BRIAN J MCKIM                                                      Common Shares                   7    Common
 Address Available Upon Request

 BRIAN JAMES PEVEAR                                                 Common Shares                1,001   Common
 Address Available Upon Request

 BRIAN TAYLOR                                                       Common Shares                1,948   Common
 Address Available Upon Request

 BRITTANY A CAPLIN                                                  Common Shares                 175    Common
 Address Available Upon Request

 BRITTNEY J GOODWIN                                                 Common Shares                  30    Common
 Address Available Upon Request

 BROOK PORTER                                                       Common Shares                3,093   Common
 Address Available Upon Request

 BRYAN ESSIG                                                        Common Shares                 184    Common
 Address Available Upon Request

 BRYAN P TURNER                                                     Common Shares                  20    Common
 Address Available Upon Request

 BUEN GUIDO                                                         Common Shares                 688    Common
 Address Available Upon Request

 CAHOOTS VENTURES LLC                                               Common Shares                 732    Common
 206 E HURON ST
 ANN ARBOR MI 48104
 CAMERON CHARLES GRIFFIN                                            Common Shares            291,109     Common
 Address Available Upon Request

 CAMERON M DUNCAN                                                   Common Shares                 175    Common
 Address Available Upon Request

Sheet 5 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 23 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 CAMILLE ORILLA                                                     Common Shares                  47    Common
 Address Available Upon Request

 CARLOS RIVERA                                                      Common Shares                  39    Common
 Address Available Upon Request

 CARRO LLC                                                          Common Shares             10,630     Common
 C/O ALEX ROY
 Address Available Upon Request
 CARY HARTLINE                                                      Common Shares                1,203   Common
 Address Available Upon Request

 CASEY J CHEVALIER                                                  Common Shares                  48    Common
 Address Available Upon Request

 CATARINO J BAUTISTA                                                Common Shares                   8    Common
 Address Available Upon Request

 CATHERINE L THOMASON                                               Common Shares                  38    Common
 Address Available Upon Request

 CECIL LEGRAND CAMPBELL                                             Common Shares                1,931   Common
 Address Available Upon Request

 CEDE & CO                                                          Common Shares        199,889,480     Common
 570 WASHINGTON BLVD
 JERSEY CITY NJ 07310
 CEDRIC B WILLIAMS                                                  Common Shares                  10    Common
 Address Available Upon Request

 CESAR ISLAS SOTO                                                   Common Shares                  12    Common
 Address Available Upon Request

 CHAD A GREEN                                                       Common Shares                  12    Common
 Address Available Upon Request

 CHARLES A BAUCOM                                                   Common Shares                  38    Common
 Address Available Upon Request

 CHARLES MASTERSON                                                  Common Shares                 854    Common
 Address Available Upon Request

 CHARLES T HAGAN                                                    Common Shares                 492    Common
 Address Available Upon Request

 CHELETTE D SPURLOCK                                                Common Shares                  28    Common
 Address Available Upon Request

 CHENGTSE LEE                                                       Common Shares                  26    Common
 Address Available Upon Request



Sheet 6 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 24 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 CHESTER A SMITH                                                    Common Shares                  26    Common
 Address Available Upon Request

 CHRISTIAN D CORREA                                                 Common Shares                   1    Common
 Address Available Upon Request

 CHRISTINA WAMSLEY                                                  Common Shares                  45    Common
 Address Available Upon Request

 CHRISTINE M MILLER                                                 Common Shares             19,236     Common
 Address Available Upon Request

 CHRISTOPHER E JAEGER                                               Common Shares                   1    Common
 Address Available Upon Request

 CHRISTOPHER GRIFFIN                                                Common Shares                   5    Common
 Address Available Upon Request

 CHRISTOPHER J CHAPMAN                                              Common Shares                 132    Common
 Address Available Upon Request

 CINDY GONZALEZ                                                     Common Shares                  14    Common
 Address Available Upon Request

 COMPUTERSHARE AS AGENT FOR MANUAL                                  Common Shares                3,543   Common
 EXCHANGE E01 TO C01
 MANUAL EXCHANGE E01 TO C01
 150 ROYALL STREET
 CANTON MA 02021
 CONSTANCE SKIDMORE                                                 Common Shares                2,566   Common
 Address Available Upon Request

 CORBIN D NOLL                                                      Common Shares                  49    Common
 Address Available Upon Request

 COREY J MAELTZER                                                   Common Shares                  17    Common
 Address Available Upon Request

 CORY V BYRD                                                        Common Shares                   7    Common
 Address Available Upon Request

 COTTONWOOD FAMILY HOLDINGS LLC                                     Common Shares             92,246     Common
 1 ROCKEFELLER PLAZA
 ROOM #2500
 NEW YORK NY 10020
 CRISTIANO PRADO SAO PEDRO                                          Common Shares                 197    Common
 Address Available Upon Request

 CURTIS BECK                                                        Common Shares                  54    Common
 Address Available Upon Request



Sheet 7 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 25 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 CURTIS R KIRKSEY                                                   Common Shares                  10    Common
 Address Available Upon Request

 CURTIS S HARGRAVES                                                 Common Shares                  72    Common
 Address Available Upon Request

 CYNTHIA A JOHNSON                                                  Common Shares                  24    Common
 Address Available Upon Request

 DAIMLER TRUCKS & BUSES US HOLDING INC                              Common Shares          3,924,646     Common
 ATTN WELLS TALMADGE
 4555 N CHANNEL AVENUE
 PORTLAND OR 97217
 DALE HILL                                                          Common Shares                 205    Common
 Address Available Upon Request

 DALE WILLIS                                                        Common Shares                1,386   Common
 Address Available Upon Request

 DANA WASHINGTON                                                    Common Shares                1,721   Common
 Address Available Upon Request

 DANIEL A GRAFTON                                                   Common Shares                  19    Common
 Address Available Upon Request

 DANIEL AMEZQUITA                                                   Common Shares                   3    Common
 Address Available Upon Request

 DANIEL B GOODNOUGH                                                 Common Shares                  26    Common
 Address Available Upon Request

 DANIEL T BROGAN                                                    Common Shares                  28    Common
 Address Available Upon Request

 DANIEL T FANNING                                                   Common Shares                  81    Common
 Address Available Upon Request

 DANNY FLORES                                                       Common Shares                 219    Common
 Address Available Upon Request

 DAVID BISKE                                                        Common Shares                 664    Common
 Address Available Upon Request

 DAVID BOUCARD                                                      Common Shares                 116    Common
 Address Available Upon Request

 DAVID C HOLDER                                                     Common Shares                 110    Common
 Address Available Upon Request

 DAVID C REEVES SR TR UA 9/6/16 DAVID C REEVES                      Common Shares                1,544   Common
 SR REVOCABLE TRUST
 Address Available Upon Request


Sheet 8 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 26 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 DAVID HAN                                                          Common Shares                  42    Common
 Address Available Upon Request

 DAVID J MINERVINI                                                  Common Shares                  48    Common
 Address Available Upon Request

 DAVID J MIRACLE                                                    Common Shares                  36    Common
 Address Available Upon Request

 DAVID L MILLIGAN                                                   Common Shares                 358    Common
 Address Available Upon Request

 DAVID M KIRLIN                                                     Common Shares                  59    Common
 Address Available Upon Request

 DAVID M ORVIS                                                      Common Shares                  35    Common
 Address Available Upon Request

 DAVID SANDLER                                                      Common Shares             45,560     Common
 Address Available Upon Request

 DAVID VERESPEY                                                     Common Shares                4,961   Common
 Address Available Upon Request

 DENNIS BRAASCH                                                     Common Shares             53,739     Common
 Address Available Upon Request

 DENNIS R DAVIS                                                     Common Shares                  60    Common
 Address Available Upon Request

 DEQUANTA L JONES                                                   Common Shares                   6    Common
 Address Available Upon Request

 DEREK LEUNG                                                        Common Shares             12,469     Common
 Address Available Upon Request

 DEREK RYAN PAUL                                                    Common Shares             76,508     Common
 Address Available Upon Request

 DEVIN MURPHY                                                       Common Shares                  31    Common
 Address Available Upon Request

 DEVIN T IKENBERRY                                                  Common Shares                 262    Common
 Address Available Upon Request

 DIANA ARBOUET                                                      Common Shares                1,742   Common
 Address Available Upon Request

 DIOGENES F GONZALES                                                Common Shares                   7    Common
 Address Available Upon Request

 DOLA CANTRELL                                                      Common Shares                  18    Common
 Address Available Upon Request

Sheet 9 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 27 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 DON HERRIOTT                                                       Common Shares             10,167     Common
 Address Available Upon Request

 DON QUIXOTE ENTERPRISES LLC                                        Common Shares             13,767     Common
 6503 S OWENS CT
 LITTLETON CO 80127
 DONNA Y GILBERT                                                    Common Shares                  89    Common
 Address Available Upon Request

 DOUGLAS KROSKE                                                     Common Shares                 461    Common
 Address Available Upon Request

 DRAZAN JERKOVIC                                                    Common Shares                   6    Common
 Address Available Upon Request

 DREW FELTY                                                         Common Shares                4,752   Common
 Address Available Upon Request

 DYLAN C DAY                                                        Common Shares                  15    Common
 Address Available Upon Request

 DYLAN J CONNELLY                                                   Common Shares                  24    Common
 Address Available Upon Request

 EARL FAMILY TRUST                                                  Common Shares             69,582     Common
 Address Available Upon Request

 EARL W HASKINS                                                     Common Shares                   2    Common
 Address Available Upon Request

 EDDIE LOPEZ                                                        Common Shares                   6    Common
 Address Available Upon Request

 EDMUND S ELIZALDE                                                  Common Shares                  24    Common
 Address Available Upon Request

 EDWIN BOTERO                                                       Common Shares                   6    Common
 Address Available Upon Request

 EFRAIN NAVA                                                        Common Shares                 299    Common
 Address Available Upon Request

 ELEMENTAL EXCELERATOR                                              Common Shares                  18    Common
 2555 EAST PULGAS AVE
 EAST PALO ALTO CA 94303
 ELISEO MENDEZ                                                      Common Shares                   7    Common
 Address Available Upon Request

 EMANUEL POPOVICI                                                   Common Shares                  64    Common
 Address Available Upon Request



Sheet 10 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 28 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 EMIL S VISPERAS                                                    Common Shares                  78    Common
 Address Available Upon Request

 EMILIO F QUINTERO                                                  Common Shares                   7    Common
 Address Available Upon Request

 ENRIQUE PLATA                                                      Common Shares                  14    Common
 Address Available Upon Request

 EQUITY TRUST COMPANY CUST FBO DENNIS G                             Common Shares                 492    Common
 STEARNS IRA
 FBO DENNIS G STEARNS IRA
 Address Available Upon Request
 EQUITY TRUST COMPANY CUST FBO PAMELA S                             Common Shares                 492    Common
 STEARNS ROTH IRA
 FBO PAMELA S STEARNS ROTH IRA
 Address Available Upon Request
 ERIC CAREY                                                         Common Shares                  12    Common
 Address Available Upon Request

 ERIC EVANS REYNOLDS                                                Common Shares                2,023   Common
 Address Available Upon Request

 ERIC MARTIN                                                        Common Shares                1,703   Common
 Address Available Upon Request

 ERIC S OWENS                                                       Common Shares                  19    Common
 Address Available Upon Request

 ERICH PASELK                                                       Common Shares                  22    Common
 Address Available Upon Request

 ERIN E CARROLL                                                     Common Shares                  32    Common
 Address Available Upon Request

 ERNEST BYARS                                                       Common Shares                 135    Common
 Address Available Upon Request

 ERNESTO L VILLACORTA                                               Common Shares                 231    Common
 Address Available Upon Request

 ESTEBAN OROZCO                                                     Common Shares                  10    Common
 Address Available Upon Request

 ETHAN B CARBAUGH                                                   Common Shares                 736    Common
 Address Available Upon Request

 EVA M BROWN                                                        Common Shares                  18    Common
 Address Available Upon Request

 EVAN SMITH                                                         Common Shares                 898    Common
 Address Available Upon Request

Sheet 11 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 29 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 EVERETT L BYRD                                                     Common Shares                  16    Common
 Address Available Upon Request

 EYAD RAMADAN                                                       Common Shares                  22    Common
 Address Available Upon Request

 FABIO ORTIZ RODRIGUEZ                                              Common Shares                  11    Common
 Address Available Upon Request

 FARBETTRE LTD LLC                                                  Common Shares                 280    Common
 11908 LAKESHORE BLVD
 THE WADES OF BRATENAHL
 BRATENAHL OH 44108
 FELIX TEMORES                                                      Common Shares                  24    Common
 Address Available Upon Request

 FERNANDO D RHODES                                                  Common Shares                  24    Common
 Address Available Upon Request

 FLOYD ANDERSON                                                     Common Shares                  94    Common
 Address Available Upon Request

 FLOYD SORIANO                                                      Common Shares                2,236   Common
 Address Available Upon Request

 FOX ROTHSCHILD LLP                                                 Common Shares                8,006   Common
 C/O FRANK WILLIAMS
 2 W WASHINGTON STREET
 GREENVILLE SC 29601
 FRANK KNAPP                                                        Common Shares                 461    Common
 Address Available Upon Request

 FREDERICK W BOTERO                                                 Common Shares                 918    Common
 Address Available Upon Request

 G2VP I LLC FOR ITSELF & AS NOMINEE FOR G2VP                        Common Shares          1,000,000     Common
 FOUNDERS FUND I LLC
 3280 ALPINE ROAD
 ATTN VALERIE SHEN COO
 PORTOLLA VALLEY CA 94028
 G2VP I LLC                                                         Common Shares          1,406,297     Common
 3280 ALPINE ROAD
 PORTOLA VALLY CA 94028
 GABRIEL RIVERA                                                     Common Shares                  16    Common
 Address Available Upon Request

 GARY SMITH                                                         Common Shares                1,298   Common
 Address Available Upon Request

 GEORGE D MORRISON                                                  Common Shares                1,721   Common
 Address Available Upon Request

Sheet 12 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 30 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 GEORGE J SADOWSKI JR                                               Common Shares                  32    Common
 Address Available Upon Request

 GEORGE W FLETCHER                                                  Common Shares                 461    Common
 Address Available Upon Request

 GERMAN TAMAYO                                                      Common Shares                  14    Common
 Address Available Upon Request

 GLENN E DEAN                                                       Common Shares                  23    Common
 Address Available Upon Request

 GONZALO MEJIA SANCHEZ                                              Common Shares                  42    Common
 Address Available Upon Request

 GOUTHAM RAMARAJ                                                    Common Shares                  90    Common
 Address Available Upon Request

 GREENSPAN LLC                                                      Common Shares                3,808   Common
 C/O JO HACKL
 Address Available Upon Request
 GREG HILLMAN                                                       Common Shares                7,697   Common
 Address Available Upon Request

 GREG KUZMIC                                                        Common Shares                6,319   Common
 Address Available Upon Request

 GREGORY ATKINS                                                     Common Shares                 948    Common
 Address Available Upon Request

 GREGORY D WORSHAM                                                  Common Shares                  26    Common
 Address Available Upon Request

 GREGORY J SCHAUPP                                                  Common Shares                 119    Common
 Address Available Upon Request

 GREGORY M BROWNLEE                                                 Common Shares                  19    Common
 Address Available Upon Request

 GREGORY PRATT                                                      Common Shares                1,660   Common
 Address Available Upon Request

 GREYHOUND PARTNERS LLC                                             Common Shares                 227    Common
 C/O MALAY SHAH
 206 N SPRUCE ST STE 2A
 WINSTON-SALEM NC 27101
 GUSTAVO AVINA                                                      Common Shares                  25    Common
 Address Available Upon Request

 GUSTAVO CEROCHI                                                    Common Shares                 162    Common
 Address Available Upon Request


Sheet 13 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 31 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 HAROLD L KOHN TR UA 11/19/04 HAROLD LEWIS                          Common Shares                1,479   Common
 KOHN REVOCABLE TRUST
 Address Available Upon Request
 HAROLD M ANDREWS JR                                                Common Shares                  12    Common
 Address Available Upon Request

 HARPER INVESTMENTS LLC                                             Common Shares             19,135     Common
 C/O DOUG HARPER
 35 W COURT ST SUITE 400
 GREENVILLE SC 29601
 HARRY G BOBOTIS                                                    Common Shares                6,997   Common
 Address Available Upon Request

 HARRY G FIELDS                                                     Common Shares                 106    Common
 Address Available Upon Request

 HARSH PATEL                                                        Common Shares                2,810   Common
 Address Available Upon Request

 HAYDEN R SMITH                                                     Common Shares                   5    Common
 Address Available Upon Request

 HEATHER JOHNAS                                                     Common Shares                  77    Common
 Address Available Upon Request

 HEIDI MCNARY                                                       Common Shares                5,409   Common
 Address Available Upon Request

 HENGKY WEN                                                         Common Shares                1,203   Common
 Address Available Upon Request

 HERMAN D OLIVER                                                    Common Shares                  18    Common
 Address Available Upon Request

 HOEUN HENG                                                         Common Shares                  97    Common
 Address Available Upon Request

 HOLLY HANBURY-BROWN                                                Common Shares                  49    Common
 Address Available Upon Request

 HSIN-YI CHEN                                                       Common Shares                  29    Common
 Address Available Upon Request

 HUGH N CHAPMAN                                                     Common Shares                7,461   Common
 Address Available Upon Request

 IAN M SCHAEFER                                                     Common Shares                  37    Common
 Address Available Upon Request

 INVESTSC INC                                                       Common Shares            114,420     Common
 1201 MAIN STREET
 COLUMBIA SC 29201

Sheet 14 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 32 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 ISAAC DIXON                                                        Common Shares                 110    Common
 Address Available Upon Request

 IVY MALIK                                                          Common Shares                1,434   Common
 Address Available Upon Request

 JACK SCHULTE                                                       Common Shares                1,928   Common
 Address Available Upon Request

 JACQUELINE A FAYYAZ                                                Common Shares                  25    Common
 Address Available Upon Request

 JAIME J LEAL HERNANDEZ                                             Common Shares                   6    Common
 Address Available Upon Request

 JAKE B SALAZAR                                                     Common Shares                  10    Common
 Address Available Upon Request

 JAMES A CENTORBI                                                   Common Shares                  74    Common
 Address Available Upon Request

 JAMES E TOMLIN                                                     Common Shares                  19    Common
 Address Available Upon Request

 JAMES HUNTER HAYES                                                 Common Shares                 131    Common
 Address Available Upon Request

 JAMES I MILLER                                                     Common Shares                   6    Common
 Address Available Upon Request

 JAMES M FRY                                                        Common Shares                  15    Common
 Address Available Upon Request

 JAMES M HALL                                                       Common Shares                  35    Common
 Address Available Upon Request

 JAMES PORTER                                                       Common Shares                 276    Common
 Address Available Upon Request

 JAMES R HALE                                                       Common Shares                   6    Common
 Address Available Upon Request

 JAMES STOKES                                                       Common Shares                 299    Common
 Address Available Upon Request

 JAMES W PIGGFORD                                                   Common Shares                  59    Common
 Address Available Upon Request

 JAMIE E CABALEIRO                                                  Common Shares                  86    Common
 Address Available Upon Request

 JAMIE R CADDELL                                                    Common Shares                  10    Common
 Address Available Upon Request

Sheet 15 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 33 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 JANET E OSWALT                                                     Common Shares                  14    Common
 Address Available Upon Request

 JANICE ADAMS BROCK                                                 Common Shares                 918    Common
 Address Available Upon Request

 JARED C STEWART                                                    Common Shares                  52    Common
 Address Available Upon Request

 JARRETT E BAGWELL                                                  Common Shares                  18    Common
 Address Available Upon Request

 JARRETT W STOLTZFUS                                                Common Shares                 180    Common
 Address Available Upon Request

 JASON A RAMSTEIN                                                   Common Shares                  73    Common
 Address Available Upon Request

 JASON GREGGS                                                       Common Shares                  94    Common
 Address Available Upon Request

 JASON K DALRYMPLE                                                  Common Shares                  44    Common
 Address Available Upon Request

 JASON M BODFORD                                                    Common Shares                1,479   Common
 Address Available Upon Request

 JASON M PATRICK                                                    Common Shares                  34    Common
 Address Available Upon Request

 JASON M PAULEY                                                     Common Shares                  72    Common
 Address Available Upon Request

 JASON S BRYANT                                                     Common Shares                  44    Common
 Address Available Upon Request

 JASON T RYAN                                                       Common Shares                   7    Common
 Address Available Upon Request

 JASON W HOM                                                        Common Shares                   5    Common
 Address Available Upon Request

 JAY N STRAIGHT                                                     Common Shares                  24    Common
 Address Available Upon Request

 JAY S SHELLEY TR UA 11/30/05 THE JAY S SHELLEY                     Common Shares                 249    Common
 REVOCABLE TRUST
 Address Available Upon Request
 JAY V DAVIS                                                        Common Shares                   7    Common
 Address Available Upon Request

 JEANNETTE BJOERNSEN                                                Common Shares                  50    Common
 Address Available Upon Request

Sheet 16 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 34 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 JEAN-SEBASTIEN COTE                                                Common Shares                 174    Common
 Address Available Upon Request

 JEFF GARCIA                                                        Common Shares                  19    Common
 Address Available Upon Request

 JEFFERY J HURTIG                                                   Common Shares                 361    Common
 Address Available Upon Request

 JEFFREY D RIDINGS                                                  Common Shares                  27    Common
 Address Available Upon Request

 JEFFREY S BAGWELL                                                  Common Shares                  20    Common
 Address Available Upon Request

 JENNIFER A WEAVER                                                  Common Shares                  40    Common
 Address Available Upon Request

 JENNIFER EPPS                                                      Common Shares                  74    Common
 Address Available Upon Request

 JENNIFER HERRERA                                                   Common Shares                   8    Common
 Address Available Upon Request

 JENNIFER R STEWART                                                 Common Shares                   7    Common
 Address Available Upon Request

 JEREMY J LITTLETON                                                 Common Shares                   9    Common
 Address Available Upon Request

 JEREMY MAX                                                         Common Shares                   5    Common
 Address Available Upon Request

 JEREMY PHILLIPS                                                    Common Shares                   6    Common
 Address Available Upon Request

 JEREMY S JONES                                                     Common Shares                  12    Common
 Address Available Upon Request

 JEROME NAIRNE TR UA 2/13/20 NAIRNE FAMILY                          Common Shares                1,298   Common
 REVOCABLE TRUST
 Address Available Upon Request
 JESSE ESPADAS                                                      Common Shares                  23    Common
 Address Available Upon Request

 JESSICA I SALVA                                                    Common Shares                  16    Common
 Address Available Upon Request

 JIM DONNELLY                                                       Common Shares                 248    Common
 Address Available Upon Request

 JOAN ROBINSON-BERRY                                                Common Shares                  19    Common
 Address Available Upon Request

Sheet 17 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 35 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 JOEL A TORR                                                        Common Shares                3,650   Common
 Address Available Upon Request

 JOEL MELERO                                                        Common Shares                1,950   Common
 Address Available Upon Request

 JOEL T BROOKET                                                     Common Shares                  70    Common
 Address Available Upon Request

 JOEL THOMPSON                                                      Common Shares                  34    Common
 Address Available Upon Request

 JOEY W MENDOZA SR                                                  Common Shares                  18    Common
 Address Available Upon Request

 JOHN BAKITA                                                        Common Shares                 343    Common
 Address Available Upon Request

 JOHN C DUNN                                                        Common Shares                  31    Common
 Address Available Upon Request

 JOHN CASEY                                                         Common Shares             20,871     Common
 Address Available Upon Request

 JOHN F GOMEZ OCAMPO                                                Common Shares                  41    Common
 Address Available Upon Request

 JOHN HABER                                                         Common Shares                   1    Common
 Address Available Upon Request

 JOHN M HORTH                                                       Common Shares                2,062   Common
 Address Available Upon Request

 JOHN P ZIELINSKI                                                   Common Shares                 140    Common
 Address Available Upon Request

 JOHN RUNYON                                                        Common Shares                  15    Common
 Address Available Upon Request

 JOHN T VENALECK                                                    Common Shares                6,036   Common
 Address Available Upon Request

 JOHN V AGUILAR                                                     Common Shares                 106    Common
 Address Available Upon Request

 JONATHAN AXELRAD                                                   Common Shares                3,362   Common
 Address Available Upon Request

 JONATHAN E DAVIS                                                   Common Shares                  25    Common
 Address Available Upon Request

 JONATHAN M EGELSTON                                                Common Shares                  17    Common
 Address Available Upon Request

Sheet 18 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 36 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 JONATHAN R FIERRO                                                  Common Shares                  31    Common
 Address Available Upon Request

 JONATHAN R GONZALES                                                Common Shares                   4    Common
 Address Available Upon Request

 JONNATHAN M THOMPSON                                               Common Shares                  14    Common
 Address Available Upon Request

 JOSE E MARTINEZ                                                    Common Shares                   4    Common
 Address Available Upon Request

 JOSE VALENZUELA                                                    Common Shares                  34    Common
 Address Available Upon Request

 JOSEPH A FRASCATI                                                  Common Shares                1,081   Common
 Address Available Upon Request

 JOSEPH HOLDEN                                                      Common Shares                  16    Common
 Address Available Upon Request

 JOSEPH MOSHER                                                      Common Shares                  37    Common
 Address Available Upon Request

 JOSEPH P HETTMANN                                                  Common Shares                  14    Common
 Address Available Upon Request

 JOSEPH S GOINS III                                                 Common Shares                  30    Common
 Address Available Upon Request

 JOSEPH S PLUMLEY                                                   Common Shares                  25    Common
 Address Available Upon Request

 JOSHUA AMARNATH                                                    Common Shares                1,468   Common
 Address Available Upon Request

 JOSHUA B STEWART                                                   Common Shares                1,346   Common
 Address Available Upon Request

 JOSHUA GOLDMAN                                                     Common Shares                 659    Common
 Address Available Upon Request

 JOSHUA HO                                                          Common Shares                  17    Common
 Address Available Upon Request

 JOSHUA J SCHNEIDER                                                 Common Shares                 110    Common
 Address Available Upon Request

 JOSHUA R ASHE                                                      Common Shares                  14    Common
 Address Available Upon Request

 JOVAN MONTANO-MARTINEZ                                             Common Shares                  38    Common
 Address Available Upon Request

Sheet 19 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 37 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 JUAN A GARCIA                                                      Common Shares                  10    Common
 Address Available Upon Request

 JUAN C OCHOA                                                       Common Shares                  27    Common
 Address Available Upon Request

 JUAN F MEZA                                                        Common Shares                   6    Common
 Address Available Upon Request

 JUAN GARCIA                                                        Common Shares                  50    Common
 Address Available Upon Request

 JUANA PEREZ                                                        Common Shares                1,147   Common
 Address Available Upon Request

 JULIET LEE                                                         Common Shares                 546    Common
 Address Available Upon Request

 JUOAQUINA CREMEDY                                                  Common Shares                  10    Common
 Address Available Upon Request

 JUSTIN CARPENTER                                                   Common Shares                   7    Common
 Address Available Upon Request

 JUSTIN G SIX                                                       Common Shares                  12    Common
 Address Available Upon Request

 JUSTIN SMITH                                                       Common Shares                  16    Common
 Address Available Upon Request

 KALI SUNKARA                                                       Common Shares                 445    Common
 Address Available Upon Request

 KALLAN O CARBAUGH                                                  Common Shares                  54    Common
 Address Available Upon Request

 KAMERON D HILL                                                     Common Shares                  16    Common
 Address Available Upon Request

 KAR CHUN CHENG                                                     Common Shares             11,701     Common
 Address Available Upon Request

 KARISSA M LITTLEJOHN                                               Common Shares                  11    Common
 Address Available Upon Request

 KARTHIKEYAN GOPALUNI                                               Common Shares                 210    Common
 Address Available Upon Request

 KASHUNDA W KNIGHT                                                  Common Shares                  15    Common
 Address Available Upon Request

 KATHERINE E TURNER                                                 Common Shares                  28    Common
 Address Available Upon Request

Sheet 20 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 38 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 KATHY THAI                                                         Common Shares                  26    Common
 Address Available Upon Request

 KAUSHIK M RAVAL                                                    Common Shares                 115    Common
 Address Available Upon Request

 KEITH B BALDONADO                                                  Common Shares                  53    Common
 Address Available Upon Request

 KEITH DRUMMOND                                                     Common Shares                  69    Common
 Address Available Upon Request

 KEITH HUDGINS                                                      Common Shares                1,298   Common
 Address Available Upon Request

 KEN PEDOTTO                                                        Common Shares                 743    Common
 Address Available Upon Request

 KENDALL S BLAKE                                                    Common Shares                   9    Common
 Address Available Upon Request

 KENDRICK S DEAN                                                    Common Shares                  12    Common
 Address Available Upon Request

 KENNETH A ADOMAITIS                                                Common Shares                 860    Common
 Address Available Upon Request

 KENNETH J RAY                                                      Common Shares                  10    Common
 Address Available Upon Request

 KENNETH M BECKER                                                   Common Shares                  25    Common
 Address Available Upon Request

 KENNETH REIL                                                       Common Shares                2,407   Common
 Address Available Upon Request

 KENNETH SCULLY                                                     Common Shares                4,589   Common
 Address Available Upon Request

 KENNETH SEKLEY                                                     Common Shares                 648    Common
 Address Available Upon Request

 KENYA HARRIS                                                       Common Shares                   5    Common
 Address Available Upon Request

 KEVIN J SINIARD                                                    Common Shares                 491    Common
 Address Available Upon Request

 KEVIN W PEABODY                                                    Common Shares                 101    Common
 Address Available Upon Request

 KEYUR SHAH                                                         Common Shares                4,236   Common
 Address Available Upon Request

Sheet 21 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 39 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 KPCB HOLDINGS INC                                                  Common Shares         16,326,001     Common
 C/O KLEINER PERKINS CAUFIELD & BYERS
 2750 SAND HILL ROAD
 MENLO PARK CA 94025
 KRISTOPHER CARROLL                                                 Common Shares                 985    Common
 Address Available Upon Request

 KRISTOPHER L MOODY                                                 Common Shares                   9    Common
 Address Available Upon Request

 KURLAND FAMILY LLC                                                 Common Shares                3,023   Common
 C/O LAWRENCE KURLAND
 PO BOX 269
 MONTMORENCI SC 29839
 KYLE D RUFFER                                                      Common Shares                  12    Common
 Address Available Upon Request

 KYLE D SEMMLER                                                     Common Shares                 274    Common
 Address Available Upon Request

 KYLE E EDELMAN                                                     Common Shares                  50    Common
 Address Available Upon Request

 KYLE V FARLOW                                                      Common Shares                  83    Common
 Address Available Upon Request

 L CHARLES BANKS                                                    Common Shares                5,806   Common
 Address Available Upon Request

 LAKSHMI PRASAD MALEMPATI                                           Common Shares                7,970   Common
 Address Available Upon Request

 LEE E WIXOM                                                        Common Shares                 548    Common
 Address Available Upon Request

 LESLEY M FONOKALAFI                                                Common Shares                  12    Common
 Address Available Upon Request

 LINDA GOVREAU TR UA 12/31/21 LINDA GOVREAU                         Common Shares                 972    Common
 TRUST
 Address Available Upon Request
 LISA C LILLELUND                                                   Common Shares                 276    Common
 Address Available Upon Request

 LK OPPORTUNITIES FUND II (Q) L P                                   Common Shares             99,404     Common
 C/O KEYSTONE NATIONAL GROUP LLC
 60 E SOUTH TEMPLE SUITE 2100
 SALT LAKE CTY UT 84111
 LK OPPORTUNITIES FUND II L P                                       Common Shares             66,269     Common
 C/O KEYSTONE NATIONAL GROUP LLC
 60 E SOUTH TEMPLE SUITE 2100
 SALT LAKE CTY UT 84111
Sheet 22 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 40 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 LMBS INVESTMENTS LLC                                               Common Shares                 514    Common
 C/O MALAY SHAH
 Address Available Upon Request
 LORAND MOLDOVAN                                                    Common Shares                  35    Common
 Address Available Upon Request

 LORI COLLINS                                                       Common Shares                 898    Common
 Address Available Upon Request

 LORI S RHODES                                                      Common Shares                 168    Common
 Address Available Upon Request

 LUIS L BAGLIN                                                      Common Shares                7,016   Common
 Address Available Upon Request

 LUIS SIERRA                                                        Common Shares                  14    Common
 Address Available Upon Request

 MARC PUNZALAN                                                      Common Shares                  85    Common
 Address Available Upon Request

 MARCOS A AGUIRRE                                                   Common Shares                  16    Common
 Address Available Upon Request

 MARCUS T RICE                                                      Common Shares                  42    Common
 Address Available Upon Request

 MARGARET ANN TAGLIERE TRUST                                        Common Shares                6,240   Common
 Address Available Upon Request

 MARIKIT RIVERA                                                     Common Shares                  19    Common
 Address Available Upon Request

 MARK ESSEX                                                         Common Shares             12,117     Common
 Address Available Upon Request

 MARK L NORTON                                                      Common Shares                  53    Common
 Address Available Upon Request

 MARK PARRIOTT                                                      Common Shares                  17    Common
 Address Available Upon Request

 MARK WATERFIELD                                                    Common Shares                 496    Common
 Address Available Upon Request

 MARQUIS PHILLIPS                                                   Common Shares                  19    Common
 Address Available Upon Request

 MARTIN RIVERA                                                      Common Shares                  17    Common
 Address Available Upon Request

 MARTY BROWN                                                        Common Shares                 476    Common
 Address Available Upon Request

Sheet 23 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 41 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 MARTY BROWN                                                        Common Shares                 500    Common
 Address Available Upon Request

 MATTHEW B CRAWFORD                                                 Common Shares                  21    Common
 Address Available Upon Request

 MATTHEW C SEVILLA                                                  Common Shares                  12    Common
 Address Available Upon Request

 MATTHEW D WARD                                                     Common Shares                  53    Common
 Address Available Upon Request

 MATTHEW HARMON                                                     Common Shares                  47    Common
 Address Available Upon Request

 MATTHEW HILL                                                       Common Shares                  64    Common
 Address Available Upon Request

 MATTHEW J STAMBAUGH                                                Common Shares                 393    Common
 Address Available Upon Request

 MATTHEW R HAMILTON                                                 Common Shares                  16    Common
 Address Available Upon Request

 MATTHEW WEST                                                       Common Shares                 117    Common
 Address Available Upon Request

 MATTHEW WHITEHEAD                                                  Common Shares                1,541   Common
 Address Available Upon Request

 MAXIMILIANO SALAZAR                                                Common Shares                1,945   Common
 Address Available Upon Request

 MAXIMO DELGADO                                                     Common Shares                  83    Common
 Address Available Upon Request

 MEENA TALASILA                                                     Common Shares                3,558   Common
 Address Available Upon Request

 MEGAN FINNERN                                                      Common Shares                 377    Common
 Address Available Upon Request

 MEGAN K SHEVLIN                                                    Common Shares                  48    Common
 Address Available Upon Request

 MELVIN YUMANG                                                      Common Shares                  18    Common
 Address Available Upon Request

 MELVON HARRIS                                                      Common Shares                  17    Common
 Address Available Upon Request

 MERCEDES E PARHAM                                                  Common Shares                   7    Common
 Address Available Upon Request

Sheet 24 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 42 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 MICCO LLC                                                          Common Shares                 461    Common
 C/O MINOR SHAW
 Address Available Upon Request
 MICHAEL A MENDENHALL                                               Common Shares                 573    Common
 Address Available Upon Request

 MICHAEL A WYNNIK                                                   Common Shares                  53    Common
 Address Available Upon Request

 MICHAEL CHAMBERLAIN                                                Common Shares                   5    Common
 Address Available Upon Request

 MICHAEL D REED II                                                  Common Shares                  18    Common
 Address Available Upon Request

 MICHAEL D RODRIGUEZ                                                Common Shares                   7    Common
 Address Available Upon Request

 MICHAEL DELOACH                                                    Common Shares                3,566   Common
 Address Available Upon Request

 MICHAEL E HENNESSY                                                 Common Shares                1,346   Common
 Address Available Upon Request

 MICHAEL HIN                                                        Common Shares                  46    Common
 Address Available Upon Request

 MICHAEL J CLARK                                                    Common Shares                  62    Common
 Address Available Upon Request

 MICHAEL J DODD                                                     Common Shares                  48    Common
 Address Available Upon Request

 MICHAEL JAMES                                                      Common Shares                   2    Common
 Address Available Upon Request

 MICHAEL MINER                                                      Common Shares                  63    Common
 Address Available Upon Request

 MICHAEL MINO                                                       Common Shares                 710    Common
 Address Available Upon Request

 MICHAEL PETERS                                                     Common Shares                 136    Common
 Address Available Upon Request

 MICHAEL RAY SEGVICH                                                Common Shares                4,180   Common
 Address Available Upon Request

 MICHAEL S BOGGESS                                                  Common Shares                 479    Common
 Address Available Upon Request

 MICHAEL SMITH                                                      Common Shares                3,093   Common
 Address Available Upon Request

Sheet 25 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 43 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 MICHEAL W WALKER                                                   Common Shares                 528    Common
 Address Available Upon Request

 MICHELE B DESROCHERS                                               Common Shares                 344    Common
 Address Available Upon Request

 MICHELLE BENSON                                                    Common Shares                 171    Common
 Address Available Upon Request

 MICHELLE L SNOW                                                    Common Shares                 116    Common
 Address Available Upon Request

 MIGUEL MENDEZ                                                      Common Shares                  21    Common
 Address Available Upon Request

 MIKE BISMEYER                                                      Common Shares                  18    Common
 Address Available Upon Request

 MJP 2015 LLC                                                       Common Shares                8,247   Common
 Address Available Upon Request

 MOHAMMED SHEIKH                                                    Common Shares                5,132   Common
 Address Available Upon Request

 MOISES MEJIA SANCHEZ                                               Common Shares                  17    Common
 Address Available Upon Request

 MONTEITH L PHILLIPS                                                Common Shares                   7    Common
 Address Available Upon Request

 MORGHAN B DAVIDSON                                                 Common Shares                  20    Common
 Address Available Upon Request

 MT WHITNEY INVESTMENTS                                             Common Shares          1,022,348     Common
 ATTN JEFF BAUM
 3109 GRAND AVENUE #541
 MIAMI FL 33133
 NABIL CACHEIRO-HAMDI                                               Common Shares                1,298   Common
 Address Available Upon Request

 NANCY A SKOE                                                       Common Shares                2,111   Common
 Address Available Upon Request

 NATALIE RAMIREZ                                                    Common Shares                2,247   Common
 Address Available Upon Request

 NATHAN D THOMAS                                                    Common Shares                  20    Common
 Address Available Upon Request

 NATHAN D WITCHER                                                   Common Shares                  15    Common
 Address Available Upon Request



Sheet 26 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 44 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 NATHAN LOWSTUTER                                                   Common Shares                4,421   Common
 Address Available Upon Request

 NATHAN R BLAIR                                                     Common Shares                  45    Common
 Address Available Upon Request

 NATHAN SCHLARB                                                     Common Shares                  16    Common
 Address Available Upon Request

 NEELESH VALAME                                                     Common Shares                6,883   Common
 Address Available Upon Request

 NEILL TIMMONS                                                      Common Shares                4,816   Common
 Address Available Upon Request

 NEILL TIMMONS                                                      Common Shares                 503    Common
 Address Available Upon Request

 NEW PAGE CAPITAL LLC                                               Common Shares                 492    Common
 C/O ADAM DUGGINS
 2616 PHOENIX DRIVE
 GREENSBORO NC 27408
 NICHOLAS M MARQUEZ                                                 Common Shares                  36    Common
 Address Available Upon Request

 NICK G GALLEGOS                                                    Common Shares                   1    Common
 Address Available Upon Request

 NIKKI L WEEKS                                                      Common Shares                  31    Common
 Address Available Upon Request

 NILESH DARADE                                                      Common Shares             16,346     Common
 Address Available Upon Request

 NISHANT DIXIT                                                      Common Shares                 119    Common
 Address Available Upon Request

 NIZAR GULAMHUSSEIN                                                 Common Shares                 195    Common
 Address Available Upon Request

 NORMAN E ESPINOZA SR                                               Common Shares                  24    Common
 Address Available Upon Request

 OSCAR PARDINAS                                                     Common Shares                1,434   Common
 Address Available Upon Request

 PATRICK A TYLER                                                    Common Shares                  29    Common
 Address Available Upon Request

 PATRICK C BROOKS                                                   Common Shares                  19    Common
 Address Available Upon Request



Sheet 27 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 45 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 PATRICK RICHTER                                                    Common Shares                 139    Common
 Address Available Upon Request

 PATRICK W CLEARY                                                   Common Shares                  24    Common
 Address Available Upon Request

 PATTY MARTIN                                                       Common Shares                2,867   Common
 Address Available Upon Request

 PAUL CLARK                                                         Common Shares                7,426   Common
 Address Available Upon Request

 PAUL DOERRER                                                       Common Shares                 192    Common
 Address Available Upon Request

 PAUL KELLER                                                        Common Shares                  37    Common
 Address Available Upon Request

 PAUL L BOYKIN                                                      Common Shares                  90    Common
 Address Available Upon Request

 PAUL MOTTRAM                                                       Common Shares             15,487     Common
 Address Available Upon Request

 PAUL POMERLEAU                                                     Common Shares                1,298   Common
 Address Available Upon Request

 PAUL SIMS                                                          Common Shares                3,611   Common
 Address Available Upon Request

 PEDRO LOPEZ                                                        Common Shares                  28    Common
 Address Available Upon Request

 PEDRO MEDINA                                                       Common Shares                  87    Common
 Address Available Upon Request

 PENSCO TRUST CUST FBO JON EMMETT SHULER                            Common Shares                 716    Common
 ROTH IRA
 FBO JON EMMETT SHULER ROTH IRA
 311 E MAIN ST
 SPARTANBURG SC 29302
 PERRY BOLICK                                                       Common Shares                2,424   Common
 Address Available Upon Request

 PETER B BUCKLEY & LORIAN F PERALTA-RAMOS JT                        Common Shares                 378    Common
 TEN
 Address Available Upon Request
 PETER BUCKLEY                                                      Common Shares                 462    Common
 Address Available Upon Request

 PHILIP EXLEY                                                       Common Shares                3,302   Common
 Address Available Upon Request

Sheet 28 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 46 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 PHILIP GREGORY                                                     Common Shares             59,823     Common
 Address Available Upon Request

 PHILIP J MARQUES                                                   Common Shares                  14    Common
 Address Available Upon Request

 PHILIP M REALE                                                     Common Shares                 103    Common
 Address Available Upon Request

 PHILLIP M CAIN                                                     Common Shares                  32    Common
 Address Available Upon Request

 PORSHAY L BECKETT                                                  Common Shares                   7    Common
 Address Available Upon Request

 PRANAV A TULPULE                                                   Common Shares                  24    Common
 Address Available Upon Request

 PRESTON L RUSSELL                                                  Common Shares                  10    Common
 Address Available Upon Request

 R TIMOTHY RICE                                                     Common Shares                 248    Common
 Address Available Upon Request

 RACHEL STRANGEWAY                                                  Common Shares                  77    Common
 Address Available Upon Request

 RADHIKA SONTAKAY                                                   Common Shares                  42    Common
 Address Available Upon Request

 RAFAEL ALMENDARES                                                  Common Shares                 492    Common
 Address Available Upon Request

 RAFAEL TRIAS                                                       Common Shares                  23    Common
 Address Available Upon Request

 RAMIRO SOTO                                                        Common Shares                  12    Common
 Address Available Upon Request

 RAMON J BARROSO                                                    Common Shares                 122    Common
 Address Available Upon Request

 RAMON NUNEZ                                                        Common Shares                   7    Common
 Address Available Upon Request

 RAMON ORONIA JR                                                    Common Shares                  12    Common
 Address Available Upon Request

 RAMSEY PARRY                                                       Common Shares                1,258   Common
 Address Available Upon Request

 RANDAL G COOK                                                      Common Shares                  67    Common
 Address Available Upon Request

Sheet 29 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 47 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 RANDALL D GILL                                                     Common Shares                  24    Common
 Address Available Upon Request

 RANDALL D MILLER                                                   Common Shares                1,147   Common
 Address Available Upon Request

 RAVI TANUKU                                                        Common Shares                2,500   Common
 Address Available Upon Request

 REALTRUST IRA ALTERNATIVES LLC CUSTFBO                             Common Shares                8,138   Common
 LEWIS T SMOAK IRA
 FBO LEWIS T SMOAK IRA
 Address Available Upon Request
 REBECCA LULA                                                       Common Shares                2,597   Common
 Address Available Upon Request

 REDAPTIVE INC                                                      Common Shares                1,373   Common
 Address Available Upon Request

 REGINALD BULA                                                      Common Shares                1,308   Common
 Address Available Upon Request

 RHETT MCCRAW                                                       Common Shares                 870    Common
 Address Available Upon Request

 RICARDO R RICASATA                                                 Common Shares                   6    Common
 Address Available Upon Request

 RICHARD EUGENE BALLENGER                                           Common Shares                3,671   Common
 Address Available Upon Request

 RICHARD H LANGDON                                                  Common Shares                  62    Common
 Address Available Upon Request

 RICHARD M RUVALCABA                                                Common Shares                   4    Common
 Address Available Upon Request

 RICHARD STARK                                                      Common Shares                 342    Common
 Address Available Upon Request

 RICHARD W HUIBREGTSE                                               Common Shares                3,464   Common
 Address Available Upon Request

 RICHARD WAGER                                                      Common Shares                  62    Common
 Address Available Upon Request

 RICK FARRELL                                                       Common Shares                2,726   Common
 Address Available Upon Request

 RICK PENNELL                                                       Common Shares             12,009     Common
 Address Available Upon Request



Sheet 30 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 48 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 RINEHART IP LLC                                                    Common Shares                1,660   Common
 C/O JAY RINEHART
 1339 EBENEZER RD
 ROCK HILL SC 29732
 ROBERT C GLENN                                                     Common Shares                  59    Common
 Address Available Upon Request

 ROBERT C JOHNSON                                                   Common Shares                  30    Common
 Address Available Upon Request

 ROBERT G DUBOSE                                                    Common Shares                   6    Common
 Address Available Upon Request

 ROBERT GALEA                                                       Common Shares                1,033   Common
 Address Available Upon Request

 ROBERT J CASTLEBERRY                                               Common Shares                  13    Common
 Address Available Upon Request

 ROBERT L FROST SR                                                  Common Shares                1,003   Common
 Address Available Upon Request

 ROBERT L MODDER                                                    Common Shares                  90    Common
 Address Available Upon Request

 ROBERT SCHRAM                                                      Common Shares                   3    Common
 Address Available Upon Request

 ROBERT T WILSON                                                    Common Shares                   6    Common
 Address Available Upon Request

 ROGER A INNES                                                      Common Shares                 138    Common
 Address Available Upon Request

 ROGERS ROBINSON JR                                                 Common Shares                  15    Common
 Address Available Upon Request

 ROHIT SEETHARAM                                                    Common Shares                3,612   Common
 Address Available Upon Request

 ROLANDO HERNANDEZ                                                  Common Shares                  44    Common
 Address Available Upon Request

 RONALD A CHACON                                                    Common Shares                  18    Common
 Address Available Upon Request

 RONALD G DIZON                                                     Common Shares                   6    Common
 Address Available Upon Request

 RONALD K PETERSON                                                  Common Shares                  16    Common
 Address Available Upon Request



Sheet 31 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 49 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 ROSEMARIE TICE                                                     Common Shares                9,063   Common
 Address Available Upon Request

 RUSSELL J MARTINEZ                                                 Common Shares                  16    Common
 Address Available Upon Request

 RYAN LIU                                                           Common Shares                3,312   Common
 Address Available Upon Request

 RYAN MCDANIEL JAMES                                                Common Shares                5,870   Common
 Address Available Upon Request

 RYAN NGUYEN                                                        Common Shares                  29    Common
 Address Available Upon Request

 RYAN T SAUNDERS                                                    Common Shares                  76    Common
 Address Available Upon Request

 SABRINA MAZOOJI                                                    Common Shares             11,747     Common
 Address Available Upon Request

 SAISINDHU KOTHA                                                    Common Shares                1,033   Common
 Address Available Upon Request

 SAMHITH BABU REDDY PENDLY                                          Common Shares                  51    Common
 Address Available Upon Request

 SAMUEL A FLORES                                                    Common Shares                   4    Common
 Address Available Upon Request

 SAMUEL AHN                                                         Common Shares                3,098   Common
 Address Available Upon Request

 SAMUEL GASTELUM                                                    Common Shares                 860    Common
 Address Available Upon Request

 SANDRA BIRCH                                                       Common Shares                  16    Common
 Address Available Upon Request

 SANN MEN                                                           Common Shares                2,541   Common
 Address Available Upon Request

 SARAH K HULSEMAN-COLLETTI                                          Common Shares                6,424   Common
 Address Available Upon Request

 SAROEUTH SOM                                                       Common Shares                   8    Common
 Address Available Upon Request

 SATISH C MALLADI                                                   Common Shares                  62    Common
 Address Available Upon Request




Sheet 32 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 50 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 SCHNEIDER ELECTRIC FOUNDRIES LLC                                   Common Shares            400,000     Common
 2882 SAND HILL ROAD SUITE 118
 ATTN GRANT ALLEN GENERAL PARTNER
 MENLO PARK CA 94025
 SCOTT BRUNNER                                                      Common Shares                  37    Common
 Address Available Upon Request

 SCOTT C RAAP                                                       Common Shares                  32    Common
 Address Available Upon Request

 SCOTT D RICHARDSON                                                 Common Shares                  82    Common
 Address Available Upon Request

 SCOTT PETERS                                                       Common Shares                   5    Common
 Address Available Upon Request

 SCOTT R BAKER                                                      Common Shares                 477    Common
 Address Available Upon Request

 SCOTT SCRUGGS                                                      Common Shares                 717    Common
 Address Available Upon Request

 SEAN LOCK                                                          Common Shares                2,295   Common
 Address Available Upon Request

 SEAN MOORE                                                         Common Shares                3,895   Common
 Address Available Upon Request

 SEHNAZ OZGUR                                                       Common Shares             49,355     Common
 Address Available Upon Request

 SENECA ANDREW SCHEPMANN                                            Common Shares             16,127     Common
 Address Available Upon Request

 SERGIO RICO                                                        Common Shares                  40    Common
 Address Available Upon Request

 SERGIO RODRIGUEZ                                                   Common Shares                 619    Common
 Address Available Upon Request

 SHANTANU V BHAVE                                                   Common Shares                  37    Common
 Address Available Upon Request

 SHAWN M MCNEIL                                                     Common Shares                  24    Common
 Address Available Upon Request

 SHAWN M WHITE                                                      Common Shares                  16    Common
 Address Available Upon Request

 SHERI L LYLES                                                      Common Shares                  14    Common
 Address Available Upon Request



Sheet 33 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 51 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 SHERRI MILLER                                                      Common Shares                1,434   Common
 Address Available Upon Request

 SHON ISENHOUR                                                      Common Shares                1,298   Common
 Address Available Upon Request

 SHYANNE M WEBB                                                     Common Shares                   6    Common
 Address Available Upon Request

 SPENCER W SCHOBERT                                                 Common Shares                   9    Common
 Address Available Upon Request

 SRIKANTH GOVINDARAJULU                                             Common Shares                4,531   Common
 Address Available Upon Request

 STANLEY D HUDGENS                                                  Common Shares                  11    Common
 Address Available Upon Request

 STEPHEN E LOLLIS                                                   Common Shares                  24    Common
 Address Available Upon Request

 STEPHEN FRANCIS O'NEIL                                             Common Shares                2,467   Common
 Address Available Upon Request

 STEPHEN JOHNSON                                                    Common Shares                 467    Common
 Address Available Upon Request

 STEPHEN NEAL                                                       Common Shares                  17    Common
 Address Available Upon Request

 STEPHEN P COFTA                                                    Common Shares                  35    Common
 Address Available Upon Request

 STEVEN A DAY                                                       Common Shares                   9    Common
 Address Available Upon Request

 STEVEN A WERBER                                                    Common Shares                 551    Common
 Address Available Upon Request

 STEVEN EDWARD BREWSTER                                             Common Shares                 367    Common
 Address Available Upon Request

 STEVEN H OWINGS                                                    Common Shares                6,997   Common
 Address Available Upon Request

 STEVEN H SIMMONS                                                   Common Shares                  89    Common
 Address Available Upon Request

 STUART FRANK REICHENBACH                                           Common Shares             26,611     Common
 Address Available Upon Request

 SUCHISMITA MISHRA                                                  Common Shares                7,478   Common
 Address Available Upon Request

Sheet 34 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 52 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 SURESH K KARRI                                                     Common Shares                 231    Common
 Address Available Upon Request

 SUSAN FINKEL                                                       Common Shares                 492    Common
 Address Available Upon Request

 SUSAN MCMURRY                                                      Common Shares                5,839   Common
 Address Available Upon Request

 TAI CHI NGUYEN                                                     Common Shares                  25    Common
 Address Available Upon Request

 TAMMY E SECK                                                       Common Shares                  16    Common
 Address Available Upon Request

 TANNER A HILL                                                      Common Shares                  40    Common
 Address Available Upon Request

 THE ENTRUST GROUP INC FBO EVELYN L BREWER                          Common Shares             13,767     Common
 FBO EVELYN L BREWER
 555 12TH STREET SUITE 900
 OAKLAND CA 94607
 THEO KINARD                                                        Common Shares                  24    Common
 Address Available Upon Request

 THERESA MATTHEWS                                                   Common Shares                1,760   Common
 Address Available Upon Request

 THOMAS D MCDUFFEE                                                  Common Shares                  35    Common
 Address Available Upon Request

 THOMAS DUGGAN                                                      Common Shares                  84    Common
 Address Available Upon Request

 THOMAS E RENO                                                      Common Shares                  74    Common
 Address Available Upon Request

 THOMAS LAUER                                                       Common Shares                 461    Common
 Address Available Upon Request

 THOMAS NASS JR                                                     Common Shares                   9    Common
 Address Available Upon Request

 THREE W PARTNERS LTD                                               Common Shares            129,468     Common
 29114 STEVENSON GATE
 FAIR OAKS TX 78015-4793
 TIMOTHY JOSEPH MCCARTNEY                                           Common Shares                 233    Common
 Address Available Upon Request

 TIMOTHY M VESS                                                     Common Shares                 110    Common
 Address Available Upon Request


Sheet 35 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 53 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 TIMOTHY S STAFFORD                                                 Common Shares                 440    Common
 Address Available Upon Request

 TING TING ZHONG                                                    Common Shares                  14    Common
 Address Available Upon Request

 TOM VON REICHBAUER                                                 Common Shares                3,201   Common
 Address Available Upon Request

 TOMMY TRUJILLO                                                     Common Shares                 102    Common
 Address Available Upon Request

 TRAVIS D BISHOP                                                    Common Shares                  63    Common
 Address Available Upon Request

 TRAVIS K BRAZNELL                                                  Common Shares                  25    Common
 Address Available Upon Request

 TREVOR THOMPSON                                                    Common Shares                  14    Common
 Address Available Upon Request

 TSENG CHEN                                                         Common Shares                  14    Common
 Address Available Upon Request

 TYLER ALTOM                                                        Common Shares                 860    Common
 Address Available Upon Request

 TYLER G HABER                                                      Common Shares                   1    Common
 Address Available Upon Request

 ULU VENTURES LLC                                                   Common Shares             12,915     Common
 Address Available Upon Request

 VC INVESTMENTS LLC                                                 Common Shares                5,232   Common
 C/O JOHN MURPHY
 Address Available Upon Request
 VICKI GROAT                                                        Common Shares             50,466     Common
 Address Available Upon Request

 VIKRAM SUNDARRAJ                                                   Common Shares                 140    Common
 Address Available Upon Request

 VINCENT H WEBB                                                     Common Shares                 166    Common
 Address Available Upon Request

 VISHAAL KRISHNA ANURAAGAVI KANNAN                                  Common Shares                  40    Common
 Address Available Upon Request

 W REED BROWN & SUZANNE W BROWN JT TEN                              Common Shares                1,475   Common
 Address Available Upon Request

 WALTER KNIGHT                                                      Common Shares                   5    Common
 Address Available Upon Request

Sheet 36 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 54 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 WB VENTURES LLC                                                    Common Shares                 898    Common
 C/O COLIN WOLFE
 7 CORPORATE CENTER CT SUITE B
 GREENSBORO NC 27408
 WENDY H HENDERSON                                                  Common Shares                  35    Common
 Address Available Upon Request

 WILLIAM ALMONTE                                                    Common Shares                 759    Common
 Address Available Upon Request

 WILLIAM E ROGERS                                                   Common Shares                  17    Common
 Address Available Upon Request

 WILLIAM E SPALDING                                                 Common Shares                  36    Common
 Address Available Upon Request

 WILLIAM EDENFIELD                                                  Common Shares                 920    Common
 Address Available Upon Request

 WILLIAM F SNELGROVE II                                             Common Shares                  64    Common
 Address Available Upon Request

 WILLIAM H AYERS                                                    Common Shares                  10    Common
 Address Available Upon Request

 WILLIAM L KEMME                                                    Common Shares                 254    Common
 Address Available Upon Request

 WILLIAM N HALL                                                     Common Shares                  14    Common
 Address Available Upon Request

 WILLIAM R COLLIER                                                  Common Shares                  15    Common
 Address Available Upon Request

 WILLIAM R WERNER                                                   Common Shares                   7    Common
 Address Available Upon Request

 WILLIAM REEVES                                                     Common Shares                 344    Common
 Address Available Upon Request

 WILLIAM RIVERA                                                     Common Shares                  58    Common
 Address Available Upon Request

 WILLIAM WILLIAMS                                                   Common Shares             11,185     Common
 Address Available Upon Request

 WILSON SMITH                                                       Common Shares                1,501   Common
 Address Available Upon Request

 YOGESH A PAWAR                                                     Common Shares                  96    Common
 Address Available Upon Request



Sheet 37 of 100 in List of Equity Security Holders
                          Case 23-11121-BLS             Doc 1       Filed 08/07/23    Page 55 of 56


 In re: Proterra Inc                                                                  Case No.
                                        Debtor(s)
                                   LIST OF EQUITY SECURITY HOLDERS
                                                       (Continuation Sheet)

 Name and last known address or place of business of                 Security Class       Number of      Kind of
 holder                                                                                    Securities    Interest
 YOLANDA P WHITESIDE                                                Common Shares                  46    Common
 Address Available Upon Request

 YOSEF N ABERA                                                      Common Shares                   7    Common
 Address Available Upon Request

 YUET FAN CHAN                                                      Common Shares                7,290   Common
 Address Available Upon Request

 ZHIFANG WANG                                                       Common Shares                5,466   Common
 Address Available Upon Request

 ZUBIN MAHARAJ                                                      Common Shares                8,259   Common
 Address Available Upon Request




Sheet 38 of 100 in List of Equity Security Holders
                              Case 23-11121-BLS                   Doc 1        Filed 08/07/23          Page 56 of 56




 Fill in this information to identify the case:

 Debtor name        Proterra Operating Company, Inc.

 United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration    Consolidated Corporate Ownership Statement and List of Equity Security
                                                                 Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on        08/07/2023                      X /s/ Gareth T. Joyce
                                                           Signature of individual signing on behalf of debtor

                                                             Gareth T. Joyce
                                                             Printed name

                                                             Chief Executive Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
